


  Upon consideration of the petition filed by Defendants on the 23rd day of September 2008 for Writ of Supersedeas of the judgment of the Court of Appeals, the following order was entered and is hereby certified to the North Carolina Court of Appeals:
 

  "Allowed by order of the Court in conference, this the 11th day of December 2008."
 

  Upon consideration of the petition for discretionary review, filed by Defendants on the 23rd day of September 2008 in this matter pursuant to G.S. 7A-31 and the Appellate Rule 16(b) as to issues in addition to those presented as the basis for the dissenting opinion in the Court of Appeals, the following order was entered and is hereby certified to the North Carolina Court of Appeals: the petition for discretionary review as to additional issues is
 

  "Denied by order of the Court in conference, this the 11th day of December 2008."
 

  Defendants shall forthwith submit an appeal bond to this Court, as provided by Appellate Rule 17(b). The bond may be in cash or by a written undertaking with good and sufficient surety in the sum of $250.00.
 

  Accordingly, only those issues which are the basis of the dissenting opinion in the Court of Appeals shall be presented to this Court in briefs. The Defendants' new brief so limited in scope shall be filed with this Court not more that 30 days from the date of certification of this order.
 
